Case 2:04-cr-20501-BBD Document 32 Filed 06/14/05 PagelotZ PagelD

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IN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE 95 JUii' iii hit B= l l

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UN|TED STATES OF Al\/|ER|CA
Plaintiff

VS.
CR. NO. 04-20501-D

ANTON|O STACKER

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a bond reduction hearing on lVlay 13, 2005. At that time,
counsel for the defendant requested a continuance ofthe June 6, 2005 trial date in order
to allow for additional preparation in the case and announced that they would be ready for
trial the second week of July, 2005.

The Court granted the request and reset the trial date to the criminal rotation trial
docket beginning Monday, Ju|v11, 2005. at 9:00 a.m.. with no further report dates.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy trial.

n is so oRoERED this /Q 7"‘d¢-ly or June, 2005.

RN|CE . DONALD
UN|TED STATES D|STR|CT JUDGE

Thls document entered on the docket metz/compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20501 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

